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                                                     UNITED STATES DISTRICT COURT
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                                                               DISTRICT OF KANSAS

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        TIMOTHY M. O’BRIEN
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           Clerk, U.S. Court of Appeals
           for the Tenth Circuit



           Steven Wayne Fish et al v. Kris Kobach et al
           District Court Case No:
                               2:16-cv-02105-JAR
           Circuit Appeal No: 18-3186

           Dear Clerk,

           Please be advised that the record is complete for the purposes of appeal.

                           The transcript was filed this date.

                            A transcript is not necessary for this appeal.

                           The necessary transcript is all ready on file in the U.S. District Court.

                           The necessary transcript was ordered previously in appeal #________________.


                                                       Sincerely,

                                                       TIMOTHY M. O’BRIEN


                                                       By:   s/ Charles Van Ness
                                                             Deputy Clerk



           cc: Counsel of Record (SEE NOTICE OF ELECTRONIC FILING)
